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10                          UNITED STATES DISTRICT COURT
11                       SOUTHERN DISTRICT OF CALIFORNIA
12
13   UNITED STATES OF AMERICA,                           Case No. 19-mj-11765-JLB-BAS-1
14                                    Plaintiff,
                                                         ORDER DENYING APPEAL FROM
15         v.                                            MAGISTRATE JUDGE DECISION
                                                         AND AFFIRMING CONVICTION
16   ENRIQUE ARMAS-GAMEZ,
                                                         AND SENTENCE (ECF No. 8)
17                                  Defendant.
18
19   I.    STATEMENT OF FACTS
20         Defendant was charged by Complaint with violating Title 8 U.S.C. § 1325(a)(1), a
21   misdemeanor. (ECF No. 1.) Specifically, the Complaint alleged:
22         On or about December 7, 2019, within the Southern District of California,
           Defendant Enrique Armas-Gamez, an alien, knowingly and intentionally
23
           attempted to enter the United States of America with the purpose, i.e.,
24         conscious desire to enter the United States at a time and place other than as
           designated by immigration officers, and committed an overt act, to wit,
25
           crossing the border from Mexico into the United States, that was a substantial
26         step towards committing the offense . . . .
27   (Id. (emphasis added).) The probable cause statement attached to the Complaint alleged
28   that Defendant was arrested 35 yards north of the International Border Fence without

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 1   proper immigration documents. (Id.) Post-arrest, after waiving his Miranda rights, the
 2   Complaint alleges Defendant “admitted to illegally entering the United States by climbing
 3   over the border fence.” (Id.)
 4         On December 16, 2019, Defendant pled guilty to the Complaint, without the benefit
 5   of a plea agreement, and was sentenced to time served. (ECF Nos. 6, 13.) At the time he
 6   pled guilty, the Magistrate Judge informed Defendant that the elements of the crime to
 7   which he was pleading guilty included:
 8          (1) That Defendant was not a citizen of the United States at the time of the
 9              offense;
            (2) That “Defendant unlawfully entered or attempted to enter the United
10              States at a time and place other than as designated by an immigration
11              officer” or other than a designated Port of Entry; and
            (3) That Defendant had the conscious desire to enter, “that is, it was
12              [Defendant’s] intent to successfully enter into the United States free
13              from official restraint.”
14   (ECF No. 13, 6:12–7:7.) Defense counsel raised no objection to these elements.
15         As part of the factual basis for his plea, Defendant admitted that, although he was a
16   citizen of Mexico, not the United States, he had walked from Mexico into the United States,
17   hoping to successfully enter the United States without being intercepted by immigration
18   officers, and, therefore, he intentionally picked a place to cross where there was no Port of
19   Entry. (ECF No. 13, 9:1–10:7.) Again, no objection was raised as to this factual basis.
20         Defendant now appeals, raising three issues: (1) Rule 11 was violated because the
21   Magistrate Judge omitted from the elements both the requirement that Defendant knew he
22   was an alien at the time he entered and the requirement that he took a substantial step
23   toward completing the offense; (2) Section 1325 is unconstitutional under Morales-
24   Santana; and (3) Section 1325 violates the non-delegation doctrine and is void for
25   vagueness. (ECF No. 15 (“Opening Brief”).) The Government responds (ECF No. 16
26   (“Government’s Response”)), and Defendant replies (ECF No. 17).
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 1   II.    LEGAL STANDARD
 2          “A defendant may appeal a magistrate judge’s judgment of conviction or sentence
 3   to a district judge within 14 days of its entry.” Fed. R. Crim. P. 58(g)(2)(B); see also 18
 4   U.S.C. § 3402. “The defendant is not entitled to a trial de novo by a district judge.” Fed.
 5   R. Crim. P. 58(g)(2)(D). Rather, the appeal’s scope “is the same as in an appeal to the
 6   court of appeals from a judgment entered by a district judge.” Id.
 7   III.   ANALYSIS
 8          A.    Any Missed Elements Were Not “Plain Error”
 9                1.     Standard
10          Failure to raise a Rule 11 objection at the time of the plea means the court reviews
11   the claimed omission for “plain error.” United States v. Covian-Sandoval, 462 F.3d 1090,
12   1093 (9th Cir. 2006). “To grant relief under the plain error standard, [the court] must
13   determine: (1) there was error, (2) that is plain, and (3) that affects substantial rights.” Id.
14   Even if those three requirements are met, the court should “exercise [its] discretion to
15   correct the error only if it seriously affects the fairness, integrity or public reputation of
16   judicial proceedings.” Id. (quotations omitted).
17          In ascertaining whether a Rule 11 error violated a defendant’s substantial rights or
18   the integrity of the proceedings, the court may look to all portions of the record. Id.; see
19   also Henderson v. Morgan, 426 U.S. 637, 644 (1976) (agreeing that “the court should
20   examine the totality of the circumstances and determine whether the substance of the
21   charge, as opposed to its technical elements, was conveyed to the accused”). In the plain
22   error analysis, the defendant bears the burden of demonstrating that substantial rights and
23   the integrity of the judicial proceedings were affected. United States v. Minore, 292 F.3d
24   1109, 1119 (9th Cir. 2002); United States v. Dominguez-Benitez, 542 U.S. 74, 83 (2004).
25   Thus, the defendant must show a reasonable probability that, but for this error, he would
26   not have entered his guilty plea. Dominguez-Benitez, 542 U.S. at 76.
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 1                2.    Omission of “Substantial Step” Language
 2         Defendant argues first that the Magistrate Judge erred in listed the elements because
 3   she failed to tell Defendant that the Government was required to prove that he took a
 4   “substantial step” toward committing the offense.        “An attempt conviction requires
 5   evidence that a defendant intended to violate the statute and took a substantial step toward
 6   completing the violation.’” United States v. Mincoff, 574 F.3d 1186, 1195 (9th Cir. 2009)
 7   (quoting United States v. Meek, 366 F.3d 705, 720 (9th Cir. 2004)). “To constitute a
 8   substantial step, a defendant’s actions must cross the line between preparation and attempt
 9   by unequivocally demonstrating that the crime will take place unless interrupted by
10   independent circumstances.” Id. at 1195 (quoting United States v. Goetzke, 494 F.3d 1231,
11   1237 (9th Cir. 2007)). “‘Mere preparation’ is not a substantial step.” United States v. Soto-
12   Barraza, 947 F.3d 1111, 1120 (9th Cir. 2020) (quoting Hernandez-Cruz v. Holder, 651
13   F.3d 1094, 1102 (9th Cir. 2011)).
14         It is true that the elements listed by the Magistrate Judge in the Rule 11 colloquy
15   omitted the requirement that the Government prove Defendant took a substantial step
16   toward completing the violation. Instead, she simply said the Government was required to
17   prove that Defendant attempted to enter the United States at a time and place other than as
18   designated by an immigration officer. This was an error that was plain.
19         However, the error does not affect substantial rights nor does it seriously affect the
20   fairness or integrity of the judicial proceedings. There was no question Defendant had
21   taken a substantial step toward entering the United States. He was arrested in the United
22   States after entering illegally. At the time he was arrested, he admitted that he had entered
23   illegally “by climbing over the border fence.” (ECF No. 1.) As part of his factual basis, at
24   the time of his plea, he admitted that he had walked from Mexico into the United States
25   and intentionally picked a place to cross where there was no Port of Entry. (ECF No. 13,
26   9:1–10:7.) The Complaint to which Defendant pled guilty alleged that Defendant had
27   crossed the border from Mexico into the United States, which was “a substantial step
28   towards committing the offense.” (ECF No. 1.)

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 1         Because overwhelming evidence supported that Defendant took a substantial step
 2   towards completing the offense, even though he was not specifically told this was a
 3   requirement, it is not unfair to hold him to his guilty plea. See Minore, 292 F.3d at 1119.
 4   Furthermore, distinguishing the cases cited by defense counsel where the attorney objected
 5   to the Rule 11 proceedings, since there was no objection, it was Defendant’s burden to
 6   show that he would not have pled guilty had he known of this element. He has not done
 7   so because he cannot do so. Defendant has not satisfied this Court that—when informed
 8   by the entire record—there is any probability of a different result had he been correctly
 9   informed of the elements. See Dominguez-Benitez, 542 U.S. at 85.
10         Since relief is not appropriate under the plain error standard, the appeal from the
11   guilty plea on this ground is denied.
12
           3.     Requirement that Defendant Knew He Was an Alien at the Time of
13                Entry
14         Next, defense counsel argues that Rule 11 was violated because the Magistrate Judge
15   failed to inform Defendant that an element of the offense included that he knew, at the time
16   he entered, that he was not a citizen of the United States. (See Opening Brief (citing United
17   States v. Hernandez, 504 F. App’x 647 (9th Cir. 2013) (unpublished); United States v.
18   Smith-Baltiher, 424 F.3d 913 (9th Cir. 2005)).) Both Hernandez and Smith-Baltiher
19   concerned whether a defendant could present a good faith, if mistaken, belief that he was
20   a citizen at the time of his illegal entry in a Section 1326 prosecution. In each case, the
21   Ninth Circuit ruled the defendant could raise such a defense because in a Section 1326
22   prosecution, the Government is required to prove that the defendant has the specific intent
23   to enter the United States without permission. The fact that a defendant may have thought
24   he had a legal right to enter could negate this intent.
25         As a preliminary matter, the Defendant in this case never expressed any confusion
26   or good faith belief that he was a citizen of the United States at the time of entering the
27   United States. When the Magistrate Judge asked Defendant whether he was a citizen of
28   the United States, he forthrightly answered that he was not. (ECF No. 13.)

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 1           Second, the elements of Section 1325(a) are different than that of Section 1326(a).
 2   In a Section 1325(a) prosecution, the key is whether the defendant had the specific intent
 3   to enter the United States at a time and place other than as designated by immigration
 4   officers. In a Section 1326(a) prosecution, the key is whether the defendant had the specific
 5   intent to enter the United States without the consent of the U.S. Attorney General. Thus, a
 6   defendant can be prosecuted for an attempt to violate Section 1326 if he or she comes to a
 7   Port of Entry and falsely claims U.S. citizenship. Not so for a Section 1325 prosecution.
 8   A Section 1325 prosecution requires that a defendant not enter through a Port of Entry.
 9   Thus, in both Hernandez and Smith-Baltiher, the defendant, who came to the Port of Entry
10   and claimed U.S. citizenship, should have been allowed to present evidence that he
11   believed this was true. There is no such corresponding element in a Section 1325
12   prosecution.
13           Finally, there is no requirement that a judge, when taking a plea, outline all possible
14   defenses to a defendant before the plea can be accepted. The judge is only required to lay
15   out the elements of the offense.
16           Defense counsel also argues that the recent Supreme Court decision in United States
17   v. Rehaif, 139 S. Ct. 2191 (2019), required the Magistrate Judge to add an element of
18   knowledge of alienage to the Section 1325 elements. Rehaif concerned the scope of the
19   word “knowingly” in the context of a prosecution under 18 U.S.C. §§ 922(g) and 924(a)(2).
20   Contrary to those statutes, Congress did not incorporate the word “knowingly” into Section
21   1325.
22           Furthermore, the Court in Rehaif was particularly concerned that failure to
23   incorporate a scienter requirement would result in prosecution of innocent conduct. No
24   such concern exists with Section 1325. Even those who are not aliens are not allowed to
25   enter the United States at a time and place other than as designated by immigration officers.
26   See United States v. Nunez-Soberanis, 406 F. Supp. 3d 835, 844 (S.D. Cal. 2019) (citing
27   19 U.S.C. § 1459).
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 1         Finally, to the extent there was any error in the listing of elements, it was not plain
 2   error that entitles Defendant to relief.     Defense counsel points to no evidence that
 3   Defendant would not have pled guilty had he known of this element. Therefore, the appeal
 4   on this ground must also be denied.
 5         B.      Morales-Santana Does Not Render Section 1325 Unconstitutional
 6         Defendant argues that United States v. Morales-Santana, 137 S. Ct. 1678 (2017),
 7   renders Section 1325 unconstitutional. This Court agrees with those courts that have held
 8   Morales-Santana is inapplicable to Section 1325. See, e.g., United States v. Ramirez-Ortiz,
 9   370 F. Supp. 3d 1151, 1156 (S.D. Cal. 2019) (“Morales-Santana does not address the
10   constitutionality of 8 U.S.C. § 1325, and the severability clause of the Immigration and
11   Nationality Act allows for offending provisions to be stricken without affecting or
12   invalidating the whole.”); see also United States v. Duffy, 773 F. App’x 947, 949 (9th Cir.
13   2019) (unpublished) (“The severability clause of the Immigration and Nationality Act
14   (‘INA’) dictates that the remainder of [the Act] was not affected by Morales-Santana.”).
15         This Court adopts the reasoning in those cases and finds that Section 1325 is not
16   unconstitutional.
17         C.      The Statute Does Not Violate the Non-Delegation Doctrine, Nor Is It
18                 Unconstitutionally Vague
19         Section 1325 makes it a crime for a non-citizen to enter or attempt to enter the United
20   States at a time or place “other than as designated by immigration officers.” Defense
21   counsel argues this violates the non-delegation doctrine because Congress has delegated to
22   immigration officers the ability to determine the scope of a criminal provision without
23   providing the executive branch official with an intelligible principle to guide the official’s
24   discretion.
25         Congress may not delegate to another branch “powers which are strictly and
26   exclusively legislative.” Gundy v. United States, 139 S. Ct. 2116, 2123 (2019). However,
27   Congress “may confer substantial discretion on executive agencies to implement and
28   enforce laws.” Id. The Supreme Court has acknowledged “that in our increasingly

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 1   complex society, replete with ever changing and more technical problems, Congress simply
 2   cannot do its job absent an ability to delegate power under broad general directives.”
 3   Mistretta v. United States, 488 U.S. 361, 372 (1989). Thus, “a statutory delegation is
 4   constitutional as long as Congress ‘lay[s] down by legislative act an intelligible principle
 5   to which the person or body authorized to [exercise the delegated authority] is directed to
 6   conform.’” Gundy, 139 S. Ct. at 2123 (alterations in original) (quoting Mistretta, 488 U.S.
 7   at 372).
 8         This Court agrees with United States v. Gonzalez-Pena, 445 F. Supp. 3d 1021, 1029–
 9   30 (S.D. Cal. 2020), that “Defendant’s non-delegation argument is based on the flawed
10   premise that any immigration officer can arbitrarily designate ports of entries.”         As
11   explained in Gonzalez-Pena:
12         Congress requires that aliens seeking lawful entrance to the United States do
           so at a port of entry. See United States v. Corrales-Vazquez, 931 F.3d 944,
13
           946 (9th Cir. 2019); United States v. Aldana, 878 F.3d 877, 882 (9th Cir.
14         2017). Ports of entry can only be designated or de-designated by the Secretary
           of Homeland Security subject to the Administrative Procedures Act. See 8
15
           C.F.R. § 100.4(a). Ports of entry also necessarily include facilities, staffed by
16         immigration officials that are set up to accept applications for admission.
           Aldana, 878 F.3d at 882. To interpret Section 1325(a) to permit a border
17
           patrol agent to designate a portion of the border fence “on a whim” is in direct
18         conflict with Congress’s clear statutory scheme.
19   Id. Therefore, this Court agrees that Section 1325 making it illegal for an individual to
20   enter the United States other than a place designated by immigration officers does not
21   violate the non-delegation doctrine.
22         Furthermore, the statute is not unconstitutionally vague.          “A statute can be
23   impermissibly vague for either of two independent reasons. First, if it fails to provide
24   people of ordinary intelligence a reasonable opportunity to understand what conduct it
25   prohibits . . . . Second, if it authorizes or even encourages arbitrary and discriminatory
26   enforcement.” Hill v. Colorado, 530 U.S. 703, 732 (2000); Papachristou v. City of
27   Jacksonville, 405 U.S. 156, 162 (1973). In particular, a statute is vague if it “makes
28   criminal activities which by modern standards are normally innocent,” or if it sets a net so

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 1   large that law enforcement is able to pick and choose who to arrest. Papachristou, 405
 2   U.S. at 163.
 3         Section 1325 provides adequate notice to people of reasonable intelligence as to
 4   what is prohibited. Individuals must enter the United States through a designated Port of
 5   Entry. Failure to do so by one who is not a citizen of the United States is a violation. There
 6   is no suggestion that the statute encourages or even allows arbitrary or discriminatory
 7   enforcement. Therefore, the argument that the statute is vague must fail.
 8   IV.   CONCLUSION
 9         For the reasons stated above, the Court DENIES Defendant’s appeal from the
10   Magistrate Judge’s decision (ECF No. 8) and AFFIRMS Defendant’s conviction and
11   sentence following his guilty plea.
12         IT IS SO ORDERED.
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14   DATED: October 20, 2020
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